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                                                 [DO NOT PUBLISH]
                                    In the
                   United States Court of Appeals
                          For the Eleventh Circuit

                            ____________________

                                 No. 23-11329
                            Non-Argument Calendar
                            ____________________

          ALAN GRAYSON,
                                                    Plaintiﬀ-Appellant,
          versus
          NO LABELS, INC.,
          PROGRESS TOMORROW, INC.,
          UNITED TOGETHER, INC.,
          NANCY JACOBSON,
          MARK PENN, et al.,


                                                Defendants-Appellees.


                            ____________________
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          2                      Opinion of the Court                 23-11329

                     Appeal from the United States District Court
                          for the Middle District of Florida
                      D.C. Docket No. 6:20-cv-01824-PGB-LHP
                              ____________________

          Before JORDAN, BRANCH, and LUCK, Circuit Judges.
          PER CURIAM:
                  Upon our review of the record and the response to the juris-
          dictional question, this appeal is DISMISSED for lack of jurisdic-
          tion. The district court’s order is not final or immediately appeala-
          ble because, although the district court found that Appellees were
          entitled to attorney’s fees, it did not determine the amount of fees
          to be awarded. See 28 U.S.C. § 1291; Sabal Trail Transmission, LLC
          v. 3.921 Acres of Land, 947 F.3d 1362, 1370 (11th Cir. 2020). The dis-
          trict court directed Appellees to file a supplemental motion for a
          determination of the fee amount, and that motion is still pending.
          Thus, the district court’s order is not “apparently the last order to
          be entered in the action” because the court has not resolved Appel-
          lees’ attorney’s fees motion, which sparked the instant postjudg-
          ment proceedings. See Mayer v. Wall St. Equity Grp., Inc.,
          672 F.3d 1222, 1224 (11th Cir. 2012).
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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

 David J. Smith                                                                       For rules and forms visit
 Clerk of Court                                                                       www.ca11.uscourts.gov


                                         September 29, 2023

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 23-11329-D
  Case Style: Alan Grayson v. No Labels, Inc., et al
  District Court Docket No: 6:20-cv-01824-PGB-LHP

  All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website.

  Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
  entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
  FRAP 41(b).

  The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
  filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
  provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
  timely only if received in the clerk's office within the time specified in the rules. Costs are
  governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
  attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

  Please note that a petition for rehearing en banc must include in the Certificate of Interested
  Persons a complete list of all persons and entities listed on all certificates previously filed by
  any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
  reheard must be included in any petition for rehearing or petition for rehearing en banc. See
  11th Cir. R. 35-5(k) and 40-1 .

  Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
  compensation for time spent on the appeal no later than 60 days after either issuance of mandate
  or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
  the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
  cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
  system.
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  Pursuant to Fed.R.App.P. 39, costs taxed against appellant.

  Please use the most recent version of the Bill of Costs form available on the court's website at
  www.ca11.uscourts.gov.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100          Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135          Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                         OPIN-1A Issuance of Opinion With Costs
